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AQ 245B (Rev 02/18) Judgment in a Criminal Case OCT { { 2018

Sheet 1 rn .

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Bankruptcy Courts

 

 

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.
RICHARD PINEDO Case Number: 18-CR-24

USM Number: N/A

Jeremy Lessem
‘Defendant's Attorney

 

Nee eee Oe ee

THE DEFENDANT:
M1 pleaded guilty to count(s) 1 of the information filed on February 7, 2018.

 

[1] pleaded nolo contendere to count(s)
which was accepted by the court.

 

C] was found guilty on count(s)
after a plea of not guilty.

The defendant 1s adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18:1028(a)(7), (b)(1)(D) Identity Fraud 12/1/2017 1
& (c)(3)(A)

The defendant is sentenced as provided in pages 2 through é of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

("] The defendant has been found not guilty on count(s)

 

(j Count(s) [] 1s [J are dismissed on the motion of the United States.

_ Itas ordered that the defendant must notify the United States attorncy for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Tf ordered to pay restitution,
the defendant must notrfy the court and United States attorney of material changes in economic circumstances.

10/10/2018

 

Date of Impesitron of Judgment

LO) bout Rachel

SignalurAAudgc J

Dabney Friedrich, US District Court Judge

 

Name and Title of Judge

lo [« 1s

Date
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AQ 245B (Rev 02/18) Judgment in Criminal Case
Sheet 2— Imprisonment

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DEFENDANT: RICHARD PINEDO
CASE NUMBER: 18-CR-24

Judgment Page 2 _ of ¢

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total

term of:

Twelve (12) months incarceration on Count 1, with six (6) months of that sentence to be served in the Bureau of Prisons and

the remaining six (6) months to be served on home detention.

(1 The court makes the following recommendations to the Bureau of Prisons:

[] The defendant is remanded to the custody of the United States Marshal.

CL] The defendant shall surrender to the United States Marshal for this district:

CL] at 1] am.

CL] as notified by the United States Marshal.

pm. on

 

M| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[1] before 2 p.m. on

 

LC] as natified by the United States Marshal.

vy as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this sudgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
J ‘

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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

 

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DEFENDANT: RICHARD PINEDO
CASE NUMBER: 18-CR-24

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

Twenty-four (24) months of supervised release on Count One (1).

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

wor —

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, C] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitulion. (check if applicable)
M You must cooperate in the collection of DNA as directed by the probation officer. (check yf apphcable)
C) You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. LJ You must participate in an approved program for domestic violence. (check yf applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev 02/18) Judgment in a Criminal Case
Shect 3A — Supervised Release

 

 

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DEFENDANT: RICHARD PINEDO
CASE NUMBER: 18-CR-24

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting te the probation office, you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission fram the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible duc to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible duc to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know somconce has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9, If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first geting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13, You must follow the instructions of the probation officer related to the conditions of supervision.

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oa)

U.S. Probation Office Use Only

AUS probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts. gov,

 

Defendant's Signature Date

 
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Sheet 3D — Supervised Release

 

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DEFENDANT: RICHARD PINEDO
CASI NUMBER: 18-CR-24

SPECIAL CONDITIONS OF SUPERVISION

Home Detention - Six (6) months of home detention as a special condition of the supervised release upon release from the
Federal Bureau of Prisons.

Location Monitoring - You will be monitored by the form of location monitoring technology indicated below for a period of
six (6) months, and you must follow the rules and regulations of the location monitoring program. You must pay the costs
of the program. Location monitoring technology at the discretion of the probation officer, including: Radio Frequency (RF)
Monitoring; GPS Monitoring (including hybrid GPS): or Voice Recognition. This form of location monitoring
technology will be used to monitor the following restriction on your movement in the community: You are restricted to your
residence at all times except for employment; education; religious services; medical, substance abuse, or mental health
treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the officer.

Computer Monitoring - You must comply with the rules and regulations of the computer monitoring program and pay the
costs of the program.

Community Service - You must complete 100 hours of community service within 18 months. The probation officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.
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AO 245B (Rev, 02/18) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

 

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DEFENDANT: RICHARD PINEDO

CASE NUMBER: 18-CR-24
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Shect 6

Assessment JIVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
CL] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(4), all nonfederal victims must be paid

before the United States 1s paid.

 

Nance of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

CL] Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay mterest and 1t 1s ordered that:
LJ the interest requirement is waived forthe [] fine [2] restitution.

{]_ the interest requirement for the [] fine O8 restitution 1s modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses commuticd on or

aftcr September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

 

 

 

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DEFENDANT: RICHARD PINEDO
CASE NUMBER: 18-CR-24
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties 1s due as follows:
A Lump sum payment of $ 100.00 due immediately, balance due
(J «notlaterthan , or
WM maccordance with (] C, [] D, fF E,or C] F below; or
B (1 Payment to begin immediately (may be combined with (IC, (1D,or (4 F below); or
C  [] Paymentinequal ss (e.g, weekly, monthly, quarterly) installments of $ over a period of
(e.g, months or years), to commence __ (e.g., 30 or 60 days) after the date of this judgment; or
D (©) Payment in equal (e.g, weekly, monthly, quarterly) installments of $ over a period of
(eg, months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E  (] Payment during the term of supervised release will commence within (e g., 30 or 60 days) alter release from

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F Wi Special instructions regarding the payment of criminal monetary penalties:

The special assessment is immediately payable to the Clerk of the Court for the US District Court for the District of
Columbia. Within 30 days of any change of address, you shall notify the Clerk of the Court of the change until such
time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties 1s due during
the period of mmprisanment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

L]  Jomt and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

CJ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applicd in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) communtty restrtution, (7) JVTA assessment, (8) penaltics, and (9) costs, including cost of prosecution and court costs.
